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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


PROTRADENET, LLC,                                 §
           Plaintiff,                             §
                                                  §                  6:18-CV-00038-ADA
v.                                                §
                                                  §
PREDICTIVE PROFILES, INC.,                        §
             Defendant.                           §
                                                  §


           ORDER DENYING DEFENDANT’S MOTION TO AMEND JUDGMENT

          Before the Court is Defendant Predictive Profiles, Inc.’s (“Defendant”) Motion to Amend

Judgement. ECF No. 125. The Court has carefully considered the Motion and all pleadings

related thereto and DENIES the Motion.

          The Court finds that this Court’s injunction is sufficiently narrowly tailored to address

and remedy the specific harm (trademark infringement) that PTN/Dwyer (“Plaintiff”) proved at

trial. The Court believes that the injunction is warranted based on the Defendant’s past conduct.

To the extent that the Defendant is correct that the injunction is overbroad because of its

potential reach into future conduct by the Defendant, the Defendant is free to move the Court to

amend the injunction should a specific issue arise in the future. The Court chooses to maintain a

more prophylactic injunction with the understanding that it may have to be modified in the

future.

                                        I.   BACKGROUND

          The Court conducted a bench trial in this case in October 2019. The Court determined

that Defendant willfully and intentionally infringed Plaintiff’s trademarks and breached the PTN

Agreement with respect to the marks. The Court entered its Findings of Fact and Conclusions of


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Law on February 3, 2020 (ECF No. 118) and Amended Findings of Fact and Conclusions of Law

on March 10, 2020 (ECF No. 124), finding willful and intentional trademark infringement by

Defendant. The Court also found that Plaintiff was entitled to a Permanent Injunction based, in

part, on Defendant’s willful and intentional trademark infringement and found that the

Preliminary Injunction sought by PTN should be made into a Permanent Injunction. On February

19, 2020, the clerk entered a Final Judgment and Permanent Injunction for the Plaintiff. As is

fairly standard in cases alleging these types of legal claims, this Court issued a narrowly tailored

injunction.

       Defendant’s Motion seeks to amend the Permanent Injunction in two ways: (1) limit the

injunction only to Plaintiff’s trademarks that were the subject of the parties’ contract; and (2)

allow Defendant to use Plaintiff’s trademarks if Defendant enters into a written agreement with a

franchisee. Plaintiff responds that this Court should deny both of these requests because

Defendant not only violated Plaintiff’s intellectual property rights by illegally infringing upon its

trademarks, but it also repeatedly violated this Court’s preliminary injunction. This Court agrees

and finds that it the Defendant is not enjoined as is currently set forth in the Permanent

Injunction, that Defendant is likely to continue its acts of illegal infringement and force the

Plaintiff to resort to serial litigation in an effort to thwart this conduct. To the extent that it was

able to do so, the Permanent Injunction that this Court entered ensures only that Defendant is

prohibited from wrongful action. In the view of the Court, the Defendant remains fully able to

take any actions that the Court would not consider to be violative of the law or of the terms of the

Agreement that it entered and that this Court founds that it violated.




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                                  II.     LEGAL STANDARD

        Prevailing plaintiffs are entitled to injunctive relief under the Lanham Act in appropriate

circumstances. 15 U.S.C. § 1116. A permanent injunction is appropriate when a plaintiff

demonstrates “(1) that it has suffered an irreparable injury; (2) that remedies available at law,

such as monetary damages, are inadequate to compensate for that injury; (3) that, considering the

balance of hardships between the plaintiff and defendant, a remedy in equity is warranted; and

(4) that the public interest would not be disserved by a permanent injunction.” ITT Educ. Servs.,

Inc. v. Arce, 533 F.3d 342, 347 (5th Cir. 2008) (quoting eBay, Inc. v. MercExchange, L.L.C., 547

U.S. 388, 391 (2006)). A permanent injunction must “be narrowly tailored to remedy the specific

action necessitating the injunction.” Fiber Sys. Int’l., Inc. v. Roehrs, 470 F.3d 1150, 1159 (5th

Cir. 2006). Additionally, the parties must “be able to interpret the injunction from the four

corners of the order.” Seattle-First Nat. Bank v. Manges, 900 F.2d 795, 800 (5th. Cir. 1990); see

FED. R. CIV. P. 65(d).

                                        III.   ANALYSIS

       An injunction that prohibits a willful infringer from future infringement of the plaintiff’s

trademarks should be narrowly tailored to address only prospective wrongful acts. As the Fifth

Circuit has held, “[t]he sweep of equitable discretion is at least this broad.” Kentucky Fried

Chicken Corp. v. Diversified Packaging Corp., 549 F.2d 368, 390 (5th Cir. 1977) (emphasis

added) (affirming an injunction that prohibited defendant’s use of marks even under fair use

where defendant engaged in an elaborate scheme to mislead franchisees into believing that it was

connected with or approved by Plaintiff).

       In Kentucky Fried Chicken, the district court accomplished two goals: the need to (1)

provide redress for infringement committed by the Defendant; and (2) to adequately guarantee



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future relief. See id. at 390. These concerns of the Court provided the foundation for the broad

application of the safe distance rule. Kentucky Fried Chicken Corporation (“KFC”) sued

Diversified Packaging Corporation (“Diversified”) for its unauthorized manufacturing and

selling food containers and napkins bearing KFC’s trademarks to KFC’s franchisees. Id. at 373.

Diversified also misled KFC’s franchisees by failing to inform them that they were not

authorized suppliers of KFC branded sundries. Id. at 374. The Fifth Circuit affirmed the trial

court’s injunction that forbade use of marks that Diversified might otherwise have been entitled

to use but for the misconduct. Id. at 390. The court determined that Diversified’s “conduct

clearly calls for strong and effective relief” and that its entering of a broad injunction was

“justified by [Diversified’s] history of improper behavior.” Id.

       In the Fifth Circuit, this Court clearly has the power to fashion relief against the

Defendant and is free to proscribe activities that standing alone would have been unassailable. Id.

In this case, the Court’s Permanent Injunction is sufficiently narrowly tailored to address the

violation established, i.e., Defendant’s infringement of Plaintiff’s trademarks. The injunction

imposed by this Court was tailored to prevent Defendant from infringing Plaintiff’s trademarks.

       With regard to Paragraphs 4 and 6 of the Order, the Court believes that its Order

sufficiently describes the actions which are restrained in sufficient detail. FED. R. CIV. P.

65(d)(1). Paragraph 4 enjoins Defendant from infringing all “trademark, service mark, trade

name and/or trade dress owned or used by Dwyer Franchising LLC or ProTradeNet, LLC now or

in the future.” The Court believes that this is more than adequate to clearly delineate the

prohibited conduct. The Plaintiff notes that Defendant will not have to “guess” as to what marks

and brands are owned and used by Plaintiff, as this information is prominently and publicly

available at https://www.neighborlybrands.com/our-brands/.



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       The Court rejects the Defendant’s argument that the injunction must be modified because

of any minor difference between the language in the Plaintiff’s pleadings and the Court’s Order.

This is not a preliminary injunction. The purpose of the Complaint was to place the Defendant on

notice that the Plaintiff was seeking a permanent injunction against Defendant based on

Defendant’s impermissible use of trademarks and posting of jobs in a manner that violated the

PTN. And as Plaintiff notes in its Response, it put Defendant on notice that it would ask this

Court to grant “such other and further relief as the Court may deem just.” See Counterclaim

Prayer at ¶ l [ECF No. 50]. This Court drafted its injunction—not by reviewing the pleadings—

but rather in reliance on the evidence that was introduced at trial. If any of that evidence was

inadmissible, the time to complain was during the trial. The Court’s Permanent Injunction is

based on the evidence at trial; it is certainly within the equitable powers granted this Court under

15 U.S.C. § 1116(a) and Rule 65(a) to prevent the violation of Plaintiff’s rights as the owner of

registered marks, rights under the contract, and rights to prevent further violation of the Lanham

Act by the Defendant.

       Furthermore, it should also be noted that this was a bench trial. The Court listened to the

evidence and determined the credibility of the witnesses and the liability of the Parties. The

Court utilized the time that it invested in presiding over the trial and drafting the judgment in

determining the appropriate scope of an injunction.

       The Plaintiff cites several cases—all of which support this Court’s decision not to amend

the injunction. The first case is Epic Tech, LLC v. Lara, No. 4:15-CV-01220, 2017 U.S. Dist.

LEXIS 196705 (S.D. Tex. Nov. 29, 2017), in which the plaintiff allegedly modified and

distributed Epic’s Legacy sweepstakes software in violation of it copyrights and trademarks.

That court found that the defendants were willful infringers and ordered a broad injunction to



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address the defendants’ wrongful acts. Id. at *21. Specifically, the injunction provided that

defendants were enjoined from the following:

       Using, disclosing, copying, sharing, relocating, transferring, or distributing to any
       individuals or entities Epic Tech, LLC’s trade secrets, confidential and propriety
       information, or other information [i.e., trademarks] relating to Epic Tech, LLC’s
       gaming software, including, but not limited to, any Epic Tech Games, and any
       computer servers containing Epic Tech Games or related software Epic Tech
       Games, and any computer servers containing Epic Tech Games or related
       software[.]

Id. at *24. The Court in Epic Tech determined that the scope of this injunction should cover not

only the specific trademarks put into evidence, but all of Epic’s trademarks and copyrights. In

addressing the scope of the injunction, the court stated that an injunction which enjoins an

infringer from future infringement of all of plaintiff’s trademark “is not over-broad [but] merely

enjoins [the defendants] from engaging in further offending conduct.” Id. at *21.

       Next, Plaintiff cites Choice Hotels Int’l v. Family Tr., No. SA-18-CV-00648-ADA, 2019

U.S. Dist. LEXIS 177662 (W.D. Tex. Aug. 8, 2019), a decision from this Court. In that case, the

plaintiff entered into a franchise agreement with the defendants to operate a hotel under the

marks Comfort Suites and Quality. Id. at *3. After the franchise was terminated and the

defendants refused to stop using the marks, the plaintiff obtained an injunction prohibiting the

defendants from using the Comfort and Quality marks and any future derivative marks. Id. at

*15.

       Furthermore, the Plaintiff cites China Cent. TV v. Create New Tech. (HK) Ltd., No. CV

15-01869 MMM (AJWx), 2015 U.S. Dist. LEXIS 189052 (C.D. Cal. Dec. 7, 2015), a case that

this Court finds instructive. In that case, an injunction—which prohibited all acts of infringement

and was not just limited to the marks at issue—was not overly broad. Id. at *58. The injunction

prohibited any use of (1) any works “bearing plaintiffs’ trademarks or trade names that are



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confusingly similar to the trademarks, trade names, designs, or logos of plaintiffs;” or (2) any of

“plaintiffs’ marks or any copy, reproduction, or colorable imitation, or confusingly similar

simulation of plaintiffs’ marks on or in connection with the promotion, advertising, distribution,

manufacture or sale of defendants’ goods” was narrowly tailored to redress the harm plaintiffs

would continue to suffer. Id. at *57–58. The court found that such an injunction is not overly

broad but instead “directly addresses the infringing conduct in which defendants have engaged.”

Id. at *58.

        At the risk of becoming repetitive, the Court believes its injunction is sufficiently

narrowly tailored to prevent Defendant from engaging in further illegal or offending conduct.

The Court finds that the Defendant has failed to establish that the Court’s current injunction

prohibits Defendant from committing lawful activity, such as generally offering customers its

online hiring tools. But it must do so without violating Plaintiff’s trademarks. ADT, LLC v.

Capital Connect, Inc., 145 F. Supp. 3d 671, 700 (N.D. Tex. 2015) (“[N]arrow scope of the

injunction that solely prevents Capital Connect from continuing to violate the Lanham Act and

continuing to compete unfairly reduces the impact of any lawful interests Capital Connect may

have through the issuance of this injunction.”) (citations and quotations omitted)).

        Defendant also argues that this Court erred by enjoining the Defendant from being

allowed “to post jobs for Dwyer brand franchisees, subject to a written agreement.” Assuming

some Dwyer brand franchisee in the future wanted to engage Defendant under written

agreement, the Court agrees with the Plaintiff’s contention that the use of their trademarks by

franchisees is limited and subject to their approval.

        In entering its injunction, the Court gave careful consideration to the evidence presented

at trial regarding Defendant’s “always on” model (which broadcasts postings for all franchises



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and all positions) and the evidence that established that Defendant is incapable of sufficiently

restricting its posting to specific franchisees or job listings. The Court finds that the injunction it

has entered is necessary to avoid the standard concerns in this type of litigation with respect to

confusion in the marketplace and disruption caused to Plaintiff’s brand franchises, consumers,

and trade. As pointed out above, the Fifth Circuit has provided district courts some freedom to

take into account the level of a Defendant’s willful and intentional infringement of trademarks,

as well as other anti-competitive behavior—such as a willful breach of an agreement. The Court

may also take into consideration any violations of this Court’s preliminary injunction. It is clear

from the quantum of damages that the Court has determined that the Defendant caused

significant harm.

                                      IV.     CONCLUSION

       The Court DENIES the Defendant’s Motion to Amend (ECF No. 125).

SIGNED this 6th day of September, 2020.




                                       ALAN D ALBRIGHT
                                       UNITED STATES DISTRICT JUDGE




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